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                                               1998 U.S. Dist. LEXIS 9159, *


                                                          LEXSEE

                 UNITED STATES OF AMERICA vs. FEDERAL SECURITY, INC., et al., Defen-
                                             dants.

                                                       No. 97 CR 516

                  UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                                   ILLINOIS, EASTERN DIVISION

                                                  1998 U.S. Dist. LEXIS 9159

                                                   June 4, 1998, Decided
                                                  June 9, 1998, Docketed

DISPOSITION: [*1] Defendant's motion to release                 While we see no need to echo all that was said in those
restraining order as to their substitute assets granted in      cases, we do think it bears repeating that the government
part and denied in part.                                        is asking not for an interpretation but for an amendment
                                                                of the plain language of the statute.
COUNSEL: For SAMUEL LEE ESTES, defendant:
                                                                     What are or may be substitute assets poses a more
Paul Flynn, Federal Defender Program, Chicago, IL.
                                                                difficult issue. One property in Hickory Hills, Illinois,
                                                                was acquired in 1984, and an adjacent property was
For CARLTON R SHORT, defendant: Francis C.
                                                                given to the Skrzypeks in 1992. The government claims
Lipuma, Attorney at Law, Chicago, IL.
                                                                that those properties, although legitimately acquired, can
                                                                no longer be considered as substitute assets because real
U. S. Attorneys: Brian Patrick Netols, United States At-
                                                                estate taxes on those properties have been paid with
torney's Office, Chicago, IL.
                                                                tainted assets after 1991. A property near Galena, Illi-
                                                                nois, is challenged on the same grounds. Other properties
JUDGES: JAMES B. MORAN, Senior Judge, U. S.
                                                                have benefitted in larger measure from tainted funds. A
District Court.
                                                                Barrington Hills, Illinois, property (now sold, with the
                                                                proceeds being held and also subject to another claim)
OPINIONBY: JAMES B. MORAN
                                                                was first acquired in 1975. A significant [*3] part of the
                                                                mortgage was ultimately paid off with tainted funds.
OPINION:
                                                                Two other properties, both in Chicago, were ultimately
    MEMORANDUM AND ORDER                                        financed largely with tainted funds.
     After considerable skirmishing, the dispute has nar-            The government provides no support for its conten-
rowed down to two issues: can the government obtain             tion that any tainted contribution taints the entire asset,
pretrial restraint of substitute assets and, if not, what as-   defendants provide no support for their contrary conten-
sets do James and Janice Skrzypek have, if any, that are        tion, and we have found nothing that discusses the mat-
substitute assets that cannot presently be restrained?          ter. We recognize that the government has an interest in
                                                                the properties to the extent that they have benefitted from
     The Second Circuit, in United States v. Regan, 858
                                                                tainted funds, but we fail to understand how legitimately
F.2d 115 (2d Cir. 1988), in a case having somewhat
                                                                acquired assets cease to be substitute assets by the use of
unique facts, without much analysis indicated that the
                                                                one dollar of tainted funds. See United States v. Voigt,
government did have that authority. The Fourth Circuit
                                                                89 F.3d 1050, 1084-88 (3d Cir. 1996), cert. denied, 136
agreed in In re Billman, 915 F.2d 916 (4th Cir. 1990),
                                                                L. Ed. 2d 546, 117 S. Ct. 623 (1996); United States v. $
cert. denied, McKinney v. United States, 500 U.S. 952,
                                                                448,342.85, 969 F.2d 474, 476 (7th Cir. (1992). We
114 L. Ed. 2d 711, 111 S. Ct. 2258 (1991). Since then
                                                                grant defendants' motion to release pre-conviction re-
four circuits have come to a contrary conclusion. [*2]
                                                                straint of properties to the extent that they are substitute
United States v. Floyd, 992 F.2d 498 (5th Cir. 1993); In
                                                                assets, but with the proviso that any proceeds from the
re Assets of Martin, 1 F.3d 1351 (3d Cir. 1993); United
                                                                sale of those properties shall be held in escrow to the
States v. Ripinsky, 20 F.3d 359 (9th Cir. 1994) and
                                                                extent of the amount of tainted funds previously used to
United States v. Field, 62 F.3d 246 (8th Cir. 1995). We
                                                                benefit those properties.
agree with the opinions and conclusions of those cases.
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     Finally, we have not previously referred to [*4] a           JAMES B. MORAN
bank account referenced by the parties. We do not be-
                                                                  Senior Judge, U.S. District Court
lieve that defendants have made a sufficient showing that
any of the funds in that account are substitute assets and,
                                                              June 4, 1998.
accordingly, we deny the motion with respect to that
asset.
